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Attorneys for Defendant Chris Palmer


                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEVADA


 MICHAEL NAESSENS,                                     Case No. 2:21-cv-01440-JAD-NJK

                               Plaintiff,

                        v.

 CHRIS PALMER,                                                      ECF No. 24
                               Defendant


              STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

        Plaintiff Michael Naessens and Defendant Chris Palmer stipulate that this matter, including

Plaintiff’s Complaint against Defendant, should be dismissed with prejudice with each party to

bear its own fees and costs.


                                                       By: /s/ Ketan D. Bhirud
_________________________________                          Ketan D. Bhirud, Bar No. 10515
Michael Naessens, Plaintiff Pro Se                         Todd Kennedy, Bar No. 6014


                                            ORDER

         Based on the parties' stipulation [ECF No. 24] and good cause appearing, IT IS HEREBY
  ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to bear its own fees and
  costs. All pending motions [ECF Nos. 5, 6, 8] are DENIED as moot, and all hearings are VACATED.
  The Clerk of Court is directed to CLOSE THIS CASE.Judge

                                              Dated:         _________________________________
                                                             U.S. District Judge Jennifer A. Dorsey
                                                             Dated: October 12, 2021
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